                                 United States District Court                             FILED
                                       Western District of Texas                      Mar 29 2023
                                          El Paso Division                         Clerk, U.S. District Court
                                                                                   Western District of Texas

                                                                             By:
                                                                                             EG
                                                                                                       Deputy
UNITED STATES OF AMERICA                        §
                                                §
vs.                                             § Case Number: EP:23-M -00780(1)RFC
                                                §
(1) LORENA MORENO                               §
  Defendant
                ORDER RESETTING DETENTION HEARING
           IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
DETENTION HEARING in Magistrate Courtroom, Room 612, on the 6th Floor of the United
States Courthouse, 525 Magoffin Avenue, El Paso, TX, on:
                           Friday, March 31, 2023 at 8:30 AM

            IT IS FURTHER ORDERED that the Clerk of the Court shall send a copy of this
order to counsel for defendant, the United States Attorney, United States Pretrial Services and the
United States Probation Office, and any surety or custodian, if applicable. Further, counsel for
the defendant shall notify the defendant of this setting and, if the defendant is on bond, advise the
defendant to be present at this proceeding.

             In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due
Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the Government is
hereby notified of and ordered to comply with (1) the prosecutor's disclosure obligations under
Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and (2) the possible consequences of
violating this Order, which may include sanctions such as delay of trial or other proceedings, the
exclusion of evidence, the giving of adverse jury instructions, the grant of new trial, the dismissal
of an action, or finding in contempt.

IT IS SO ORDERED this 29th day of March, 2023.




                                                 ______________________________
                                                 ROBERT F. CASTANEDA
                                                 UNITED STATES MAGISTRATE JUDGE
